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                  IN THE UNITED STATES COURT OF FEDERAL CLAIMS

PETRINA SMITH,                               )
                                             )
                                             )
                                             )
                Plaintiff,
                Plaintiff,                   )
                                             )
       v.                                    )      No. 19-1348-C
                                             )      Judge Smith
THE UNITED STATES,                           )
                                             )
                Defendant.                   )

                                 NOTICE OF APPEARANCE

To the Clerk:

                                             Zachary J. Sullivan
       Please enter the appearance of _____________________________, as attorney of record

for the United States. Service of all papers by opposing parties should be addressed as follows:

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Dated: September 20, 2019
